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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JENNIFER HOLT,

          Plaintiff,

   v.                                                       Case No:

   TRUEACCORD CORP and
   WEBBANK D/B/A KLARNA,
                                                            DEMAND FOR JURY TRIAL
         Defendants.
   _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, JENNIFER HOLT (“Ms. Holt” or “Plaintiff”) by and

  through the undersigned counsel, and hereby sues and files this Complaint and Demand for

  Jury Trial with Injunctive Relief Sought against Defendants, TRUEACCORD CORP

  (“Debt Collector”), and WEBBANK D/B/A KLARNA (“Debt Owner”) (collectively

  “Defendants”), and in support thereof state as follows:

                                            Introduction

         1.      This action arises out of Defendants’ violations of the Fair Debt Collection

  Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer Collection

  Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), by continuing to directly contact Ms.

  Holt after Defendant knew that Ms. Holt had notified Debt Collector that she was

  represented by counsel with respect to the alleged Debt and had been provided with Ms.

  Holt’s attorney’s name and contact information. Debt Collector also continued to contact




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  Ms. Holt after she demanded that Debt Collector stop contacting her, which can all

  reasonably be expected to harass Ms. Holt.

                                       Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising under

  the federal question presented in the FDCPA pursuant to 28 U.S.C. § 1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), 15 U.S.C. §

  1692k (d), and Fla. Stat. § 559.77 (1) as a substantial part of the events or omissions giving

  rise to the claims occurred in this judicial district.

                                                 Parties

          4.      Plaintiff, Ms. Holt, is a natural person and, at all times material hereto, is an

  adult, a resident of Pinellas County, Florida, a “consumer” as defined by 15 U.S.C. § 1692a

  (3).

          5.      At all times material hereto, Debt Collector was and is a corporation with

  its principle place of business in the State of CA and its registered agent, Corporation

  Service Company, located at 1201 Hays Street, Tallahassee, FL 32301.

          6.      Further, at all times material hereto, Debt Collector is a “Debt Collector” as

  defined and 15 U.S.C. § 1692a (6).

          7.      At all times material hereto, Debt Owner was and is a bank with its

  headquarters located at 215 South State Street, Suite 1000, Salt Lake City, UT 84111.

          8.      Further, at all times material hereto, Debt Owner is a “Debt Collector” as

  defined and 15 U.S.C. § 1692a (6).




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         9.       At all times material hereto, Debt Collector was performing debt collection

  owed to Debt Owner to satisfy Ms. Holt’s alleged debt.

         10.      At all times material hereto, Debt Collector was acting within the scope of

  an employee, representative, or agent on behalf of Debt Owner for purposes of collecting

  Ms. Holt’s alleged debt for Debt Owner.

         11.      As such, Debt Owner is responsible for the conduct of Debt Collector as its

  employee, representative, or agent.

         12.      Under information and belief, Debt Owner granted Debt Collector access to

  information and systems that normally would be within Debt Owner’s exclusive control,

  including, but not limited to Ms. Holt’s information.

         13.      Under information and belief, Debt Owner allowed Debt Collector to enter

  Ms. Holt’s information into Debt Owner’s sales or customer systems.

         14.      Under information and belief, Debt Owner gave Debt Collector authority to

  use the principal’s trade name, trademark, or service mark.

         15.      Under information and belief, Debt Owner approved, wrote, or reviewed a

  form template e-mail for Debt Collector to use when e-mailing Ms. Holt.

         16.      Under information and belief, Debt Owner had actual knowledge of Debt

  Collector’s FDCPA violations and Debt Owner failed to stop such violations by Debt

  Collector.

         17.      Under information and belief, via a contractual relationship between the

  parties, Debt Owner had control or the ability to control Debt Collector’s actions in

  attempting to collect Ms. Holt’s debt on behalf of Debt Owner.



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                                            Statements of Fact

           18.      Ms. Holt opened a personal credit card account (“Account”) with Debt

  Owner.

           19.      Sometime thereafter, Ms. Holt encountered financial difficulties and fell

  behind on her payments towards the Account and incurred an outstanding balance owed

  thereunder (“Debt”).

           20.      Debt Owner then assigned the Account to Debt Collector for debt collection

  purposes.

           21.      In or around June of 2020, Debt Collector began sending collection e-mails

  Ms. Holt in attempts to collect the Debt.

           22.      On or around June 10, 2020, Ms. Holt contacted Debt Collector via email

  to support@trueaccord.com and notified Debt Collector that she was represented by

  counsel and provided her attorney’s name and contact information. See Exhibit A.

           23.      In that same conversation, she also demanded that Debt Collector stop

  contacting her. See Exhibit A.

           24.      After Debt Collector had actual knowledge that Ms. Holt was represented

  by counsel with respect to the Debt, Debt Collector continued to send collection e-mails

  directly to Ms. Holt.

           25.      For example, on July 4, 2020, Debt Collector sent a collection e-mail to Ms.

  Holt’s e-mail address in attempts to collect the Debt on behalf of Debt Owner (“Collection

  E-mail 1”). See Exhibit B.



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         26.      Collection E-mail 1 was sent to Ms. Holt’s e-mail address directly,

  represented an outstanding balance of $8.55, represented that the email was a

  communication from a debt collector and information collected would be used for that

  purpose, and offered options to pay that included pay by online portal. See Exhibit B.

         27.      On July 7, 2020, Debt Collector sent another collection e-mail to Ms. Holt’s

  e-mail address in attempts to collect the Debt on behalf of Debt Owner (“Collection E-mail

  2”). See Exhibit C.

         28.      Collection E-mail 2 was sent to Ms. Holt’s e-mail address directly;

  represented an outstanding balance of $8.55 and demanded payment of such that day;

  stated that “you agreed to terms that indicate you are liable to pay this balance”; represented

  that the email was a communication from a debt collector and information collected

  wouldbe used for that purpose, and offered options to pay that included pay by online

  portal. See Exhibit C.

         29.      Debt Collector’s Collection E-Mail 1 and Collection E-Mail 2 (collectively

  “Collection E-Mails”) to Ms. Holt were sent in an attempt to collect the alleged Debt.

           Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA”)
                                  (as against Debt Collector)

         30.      Ms. Holt re-alleges paragraphs 1-29 and incorporates the same herein by

  reference.

         31.      Ms. Holt is a “consumer” within the meaning of the FDCPA.

         32.      The subject debt is a “consumer debt” within the meaning of the FDCPA.

         33.      Debt Collector is a “debt collector” within the meaning of the FDCPA.




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         34.      Debt Collector violated the FDCPA. Debt Collector’s violations include,

  but are not limited to, the following:

               a. Debt Collector violated 15 U.S.C. § 1692c (a)(2) by sending

                  Collection E-Mails directly to Ms. Holt after Debt Collector

                  had actual knowledge that Ms. Holt was represented by

                  counsel and knew of Ms. Holt’s attorney’s name and contact

                  information.

               b. Debt Collector violated 15 U.S.C. § 1692c(c) by continuing

                  to send Collection E-Mails to Ms. Holt after she demanded

                  all communication cease in writing via email.

         35.      As a result of the above violations of the FDCPA, Ms. Holt has been

  subjected to illegal collection activities for which she has been damaged.

         36.      Debt Collector’s actions have damaged Ms. Holt by violating her right to

  not be directly contacted with respect to the Debt while represented by an attorney.

         37.      Debt Collector’s actions have damaged Ms. Holt by causing her stress.

         38.      Debt Collector’s actions have damaged Ms. Holt by being a nuisance and

  causing her aggravation.

         39.      Debt Collector’s actions have damaged Ms. Holt by invading her privacy.

         40.      It has been necessary for Ms. Holt to retain the undersigned counsel to

  prosecute the instant action, for which she is obligated to pay reasonable attorney’s fees.

         41.      All conditions precedent to this action have occurred.




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         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Debt Collector as follows:

                  a. Awarding statutory damages as provided by 15 U.S.C.                       §

                      1692k(a)(2)(A);

                  b. Awarding actual damages;

                  c. Awarding costs and attorneys’ fees;

                  d. Ordering an injunction preventing further wrongful contact by the Debt

                      Collector; and

                  e. Any other and further relief as this Court deems just and equitable.

       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                  (as against Debt Collector)

         42.      Plaintiff re-alleges paragraphs 1-29 and incorporates the same herein by

  reference.

         43.      Debt Collector violated the FCCPA. Debt Collector’s violations include,

  but are not limited to, the following:

               a. Debt Collector violated Fla. Stat. § 559.72(18) by continuing

                  to send Collection E-Mails directly to Ms. Holt after Debt

                  Collector knew Ms. Holt was represented by an attorney

                  with respect to such Debt and had knowledge of, or could

                  readily ascertain, such attorney’s name and address.

         44.      As a result of the above violations of the FCCPA, Ms. Holt has been

  subjected to illegal collection activities for which she has been damaged.




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         45.      Debt Collector’s actions have damaged Ms. Holt by violating her right to

  not be directly contacted with respect to the Debt while represented by an attorney.

         46.      Debt Collector’s actions have damaged Ms. Holt by causing her stress.

         47.      Debt Collector’s actions have damaged Ms. Holt by being a nuisance and

  causing her aggravation.

         48.      Debt Collector’s actions have damaged Ms. Holt by invading her privacy.

         49.      It has been necessary for Ms. Holt to retain the undersigned counsel to

  prosecute the instant action, for which she is obligated to pay reasonable attorney’s fees.

         50.      All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Debt Collector as follows:

                  a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                  b. Awarding actual damages;

                  c. Awarding punitive damages;

                  d. Awarding costs and attorneys’ fees;

                  e. Ordering an injunction preventing further wrongful contact by the

                      Defendant; and

                  a. Any other and further relief as this Court deems just and equitable.

       Count 3: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                   (as against Debt Owner)

         51.      Plaintiff re-alleges paragraphs 1-29 and incorporates the same herein by

  reference.




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         52.      At all times relevant hereto, Debt Owner was directly and vicariously liable

  for the actions of Debt Collector.

         53.      Debt Collector violated the FCCPA. Debt Collector’s violations include,

  but are not limited to, the following:

               a. Debt Collector violated Fla. Stat. § 559.72(18) by continuing

                  to send Collection E-Mails directly to Ms. Holt after Debt

                  Collector knew Ms. Holt was represented by an attorney

                  with respect to such Debt and has knowledge of, or can

                  readily ascertain, such attorney’s name and address.

         54.      As a result of the above violations of the FCCPA, Ms. Holt has been

  subjected to illegal collection activities for which she has been damaged.

         55.      Debt Owner’s actions have damaged Ms. Holt by violating her right to not

  be directly contacted with respect to the Debt while represented by an attorney.

         56.      Debt Owner’s actions have damaged Ms. Holt by causing her stress.

         57.      Debt Owner’s actions have damaged Ms. Holt by being a nuisance and

  causing her aggravation.

         58.      Debt Owner’s actions have damaged Ms. Holt by invading her privacy.

         59.      It has been necessary for Ms. Holt to retain the undersigned counsel to

  prosecute the instant action, for which she is obligated to pay reasonable attorney’s fees.

         60.      All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Debt Owner as follows:



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                 a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                 b. Awarding actual damages;

                 c. Awarding punitive damages;

                 d. Awarding costs and attorneys’ fees;

                 e. Ordering an injunction preventing further wrongful contact by the

                     Defendant; and

                 b. Any other and further relief as this Court deems just and equitable.




                                 DEMAND FOR JURY TRIAL

             Plaintiff, Jennifer Holt, demand a trial by jury on all issues so triable.




    Respectfully submitted this July 27, 2020,

                                                    /s/ Kaelyn Steinkraus
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